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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

 JOHN DOE, an individual,

       Plaintiff,

 vs.                                            Case No. 16-cv-13174
                                                Hon. David M. Lawson
 DAVID H. BAUM, et al,                          Mag. Stephanie Dawkins Davis

       Defendants.
 _____________________________________________________________
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        PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                       PURSUANT TO FRCP 56

        NOW COMES Plaintiff John Doe, by and through his attorneys Deborah

 Gordon Law, and files his Motion for Partial Summary Judgment as to Count I of

 his Second Amended Complaint (Dkt. # 134). Plaintiff specifically seeks summary

 judgment and the following relief:

        1.    A Partial Summary Judgment as to Count I in that there is no genuine

 dispute as to any material fact and Plaintiff is entitled to judgment as a matter of

 law.

        2.    A permanent injunction vacating the final result reached by the

 Appeals Board on May 25, 2016 and adopted by the University on June 13, 2016,

 and the sanctions Defendants thereafter imposed on Plaintiff as set forth in Ex. A.

        WHEREFORE, Plaintiff requests that this Honorable Court enter an Order

  Granting Plaintiff’s Partial Motion for Summary Judgment.

                                        Respectfully submitted,

                                        DEBORAH GORDON LAW
                                        /s/Deborah L. Gordon (P27058)
                                        Attorney for Plaintiff
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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 JOHN DOE, an individual,

        Plaintiff,

 vs.                                                Case No. 16-cv-13174
                                                    Hon. David M. Lawson
 DAVID H. BAUM, et al,                              Mag. Stephanie Dawkins Davis

      Defendants.
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    PLAINTIFF’S BRIEF IN SUPPORT OF HIS MOTION FOR PARTIAL
           SUMMARY JUDGMENT PURSUANT TO FRCP 56

    I.      OVERVIEW OF ARGUMENT AND REQUEST FOR RELIEF

         This is an uncomplicated legal and factual argument. This Court is familiar

 with the factual background of the case.

         Count I of Plaintiff’s Complaint alleges a violation of 42 U.S.C. §1983. Doe

 was deprived of his property interest in his education when the Appeals Board,

 appointed by the Office of Student Conflict Resolutions (“OSCR”) and consisting

 of Defendants Baum, Pritzel and Bentley, found that he had violated the University

 of Michigan Sexual Misconduct Policy (Dkt. # 6-2) without providing him an

 opportunity for cross-examination at a live hearing. The Appeals Board process

 was overseen by the Director of OSCR, Defendant Wessel. The decision was

 approved by the Vice President of Student Affairs, Defendant Harper. (Dkt. # 6-5)

 Based on the Appeals Board’s decision, Plaintiff was subject to sanctions

 administered by OSCR. He was forced to withdraw from the University or risk

 being expelled.    On June 22, 2016, Doe received a letter from the Assistant

 Director of OSCR, Defendant Bazzy, stating that he had been “found Responsible

 for violating the University of Michigan Policy on Sexual Misconduct by Students

 (the Policy) through the Appeals Process.” The letter set forth the sanctions to be

 implemented as part of Plaintiff’s agreement to withdraw. Dkt. # 107-2. Ex. A.



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       On September 7, 2018, the Sixth Circuit Court of Appeals specifically

 addressed the University of Michigan Policy on Sexual Misconduct as it was

 applied to Plaintiff. Doe v. Baum, 903 F.3d 575 (6th Cir. 2018). The Court found

 that where credibility is at issue, a live hearing in front of the Appeals Board,

 including cross-examination, is required prior to the deprivation of a property

 interest in an education. Citing to the record before it, the Court found that

 credibility was an issue in the case brought against Doe, citing R. 6-5 Pg. ID 274-

 75 (Appeals Board’s Report and final decision dated May 25, 2016). Baum, 903

 F.3d at 581-582.

       Defendants have never argued that Doe received a live hearing, including the

 ability to cross-examine his accuser and witnesses.       Rather, until the Baum

 decision, Defendants argued that their “investigative model,” as outlined in the

 Sexual Misconduct Policy, was sufficient; however, Baum noted that “this circuit

 has already flatly reject that argument.” Baum, at 582. Then, on September 24,

 2018, in their Petition for Rehearing and Rehearing En Banc, Defendants stated,

 “[a]ppellees are no longer contesting whether the investigative model they have

 used to date is sufficient, and understand that they must provide students in Title

 IX cases with a live hearing including cross-examination.” (emphasis added)

 (COA Doc. 49-1, Petition for Rehearing, Case 17-2213, p. 8).




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     In addition to the foregoing, as set forth below, Defendants admit in their

 Answer to Plaintiff’s Second Amended Complaint that:

    - The Appeals Board found that Plaintiff violated the Sexual Misconduct
      Policy, and

    - Plaintiff was not provided with an opportunity to cross-examine his accuser
      at a live hearing prior to the Appeals Board’s decision.

 Further and as noted above, the Sixth Circuit, citing to the record before it, found

 that the Appeals Board’s decision rested on a credibility determination. Finally, it

 is uncontested that Plaintiff has not been a student at the University since June

 2016.

         Plaintiff now seeks an Order from this Court granting Partial Summary

 Judgment as to Count I, returning him to the status quo ante prior to the

 constitutional deprivation, ordering that:

   1. Plaintiff was deprived of due process of law when he was found by the

      Appeals Board, with approval of the Vice President of Student Affairs, to

      have violated the Sexual Misconduct Policy without first being provided with

      a live hearing including cross-examination;

   2. A permanent injunction shall issue vacating the findings against Plaintiff; and

   3. The sanctions imposed upon Plaintiff as a result of the findings against him,

      as set forth in Dkt. #107-2, are vacated in their entirety.




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       Plaintiff does not seek (nor could he) a determination by this Court as to

 whether he violated the Policy on Sexual Misconduct. Nor does Plaintiff seek in

 this Motion that the Court construct a remedy beyond what is requested above.

 Rather, other remedies, including equitable and legal relief should be determined

 after additional factual and legal determinations, which will likely need to be

 briefed.

 II.   ARGUMENT

       A.     Standard

       Summary judgment is appropriate if there is no genuine issue as to any

 material fact, and the moving party is entitled to judgment as a matter of law.

 Bender v. Hecht’s Dep’t. Stores, 455 F.3d 612, 619-20 (6th Cir. 2006) (quoting

 Fed. R. Civ. P. 56(c)). It is well-settled that the existence of a “mere scintilla of

 evidence” supporting a party’s position will not suffice. Anderson v. Liberty

 Lobby, Inc., 477 U.S. 242, 248 (1968).

       B.     Defendants’ Qualified Immunity Argument (Dkt. # 132, 133) Does
              Not Preclude Equitable or Injunctive Relief.

       In this Motion Plaintiff seeks only non-monetary relief, specifically

 injunctive and equitable relief. This relief is not affected by the defense of

 qualified immunity. Smith v. Leis, 407 F. App’x 918, 930 (6th Cir. 2011) (“[A]

 court could award both declaratory and injunctive relief in an action against a

 defendant protected by qualified immunity.”); Collyer v. Darling, 98 F.3d 211, 222
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  (6th Cir. 1996) (“[I]mmunity only precludes claims for monetary damages against

  officials in their individual capacities, and not claims for injunctive or declaratory

  relief.”).   As such, qualified immunity is in no way a bar to the granting of this

  motion and the relief requested at this point. Plaintiff reserves the right to seek

  other remedies at a later time after further briefing and factual development, if

  necessary. If those remedies seek legal relief Plaintiff anticipates that Defendants

  would bring its motion as to qualified immunity at that time.

         C.     The Sixth Circuit Has Held That the Policy and Process Used to
                Find Against Plaintiff was Unconstitutional.

         Defendants filed a Motion to Dismiss Plaintiff’s claims on October 21, 2016

  (Dkt. # 56), which the Court granted on January 5, 2017 (Dkt. # 74). Plaintiff

  appealed this decision to the Sixth Circuit, where it was overturned. Doe v. Baum,

  903 F.3d 575 (6th Cir. 2018).

         The Sixth Circuit made the following findings specific to this Motion:

     1. “The district court dismissed [Plaintiff’s] claim finding that even if
        credibility was at issue, the university’s failure to allow for cross-
        examination was immaterial in Doe’s case. R. 74, Pg. ID 2871. We
        disagree.” Id. at 581.

     2. “Our circuit has made two things clear: (1) if a student is accused of
        misconduct, the university must hold some sort of hearing before
        imposing a sanction as serious as expulsion or suspension, and (2) when
        the university’s determination turns on the credibility of the accuser,
        the accused, or witnesses, that hearing must include an opportunity for
        cross-examination.” Id. (emphasis added).



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     3. “The university’s decision rested on a credibility determination: the
        Board found Doe responsible after concluding that Roe and her
        witnesses were ‘more credible’ than Doe and his. R. 6-5, Pg. ID 274-75.”
        Id. at 581-582 (emphasis added).

     4. “As it turns out, the university already provides for a hearing with cross-
        examination in all misconduct cases other than those involving sexual
        assault. So the administration already has all the resources it needs to
        facilitate cross-examination and knows how to oversee the process. And,
        importantly, the university identifies no substantial burden that would be
        imposed on it if it were required to provide an opportunity for cross-
        examination in this context.” Id. at 582.

     5. “[The university claims] [Doe] was permitted to review [Complainant’s]
        statement and submit a response identifying inconsistencies for the
        investigator. As such, the university claims that there would have been no
        added benefit to cross-examination. But this circuit has already flatly
        rejected that argument.” Id. (emphasis added).

     6. “Cross-examination is essential in cases like Doe’s because it does more
        than uncover inconsistencies –it ‘takes aim at credibility like no other
        procedural device.’” Baum, 903 F.3d at 582 (emphasis added).

     7. “…[T]he university must allow for some form of live questioning in front of
        the fact-finder.” Id. at 583.

     8. “University of Cincinnati is consistent with our conclusion today: if
        credibility is in dispute and material to the outcome, due process
        requires cross-examination.” Id. at 584 (emphasis added).

        Based on the foregoing citations from Baum, the law of this Circuit is clear;

  where credibility is at stake, a live hearing and cross-examination is required.

  Moreover, the Court found that Doe’s interest in his property right was

  “significant” and the University’s burden to provide due process was “minimal.”

  Id. at 582. It is uncontested that Doe was deprived of a live hearing with cross-


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  examination, that the Appeals Board had the ability to make the final determination

  and did so, and that the Appeals Board never met either party or any witness.

        D.    There is No Question of Fact as to Whether Doe was Denied a
              Live Hearing Including Cross Examination, Thereby Violating his
              Due Process Rights; in addition, the Sixth Circuit has Ruled That
              the Decision Against Doe was Based on a “Credibility
              Determination”.

              1.     Admissions by Defendants

        As noted above, Defendants have never argued that Plaintiff was provided a

  live hearing and cross-examination. Then, post Baum, on September 24, 2018, in

  their Petition for Rehearing and Rehearing En Banc, Defendants admitted that their

  process was unconstitutional, stating “[a]ppellees are no longer contesting whether

  the investigative model they have used to date is sufficient, and understand that

  they must provide students in Title IX cases with a live hearing including cross-

  examination.” (emphasis added) (COA DOC. 49-1 Petition for Rehearing, Case

  17-2213, p. 84).

          On March 25, 2019, Defendants filed their Answer to Plaintiff’s Second

  Amended Complaint (Dkt. # 134). The following answers, which directly track the

  requirements for due process set forth in Baum, are further admissions that there is

  no question of fact remaining:

        ¶ 45. Per the policy, Plaintiff was provided with no notice of the
        allegations against him, no hearing and no ability to put questions to
        his accuser or witnesses. He was never given the names of witnesses.

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        He was provided with only one private meeting with the Investigator
        on January 29, 2016.

        Answer: … It is admitted that Plaintiff did not have an ability to
        ask questions directly to Complainant or other witnesses … It is
        also admitted that the OIE Report does not identify witnesses by
        name...
                                         (Dkt. # 134, Page ID 4494, p. 21)

        ¶ 85. The Appeals Board never met with, talked to or questioned the
        parties or the witnesses. Plaintiff was not allowed to appear in front of
        the Board. Nonetheless, per the Sexual Misconduct Policy, the
        Appeals Board was imbued with the authority to unilaterally reverse
        the findings in fact of Plaintiff …

        ANSWER: … It is admitted that the Appeals Board did not meet
        with, talk to, or question the Complainant, Plaintiff, or other
        witnesses … It is also admitted that the Appeals Board had the
        authority to reverse the OIE decision based on specific grounds
        set forth in the Sexual Misconduct Policy…

                                               (Dkt. # 134, Page ID 4508, p. 35)

        ¶ 91. … [T]he Appeals Board issued a decision, finding that Plaintiff
        has violated the Sexual Misconduct Policy.

        ANSWER: … It is admitted that the Appeals Board issued a
        decision finding that Plaintiff has violated the Sexual Misconduct
        Policy.
                                      (Dkt. # 134, Page ID 4509-10 p. 36-37)

        ¶ 92. Defendant Harper accepted the Board’s recommendations on
        June 13, 2019.

        ANSWER: Admitted.
                                               (Dkt. # 134, Page ID 4510, p. 37)




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       Finally, it is uncontested that the sanctions against Plaintiff are as follows and

  that there has been no revocation of this of this document or any of its terms as of

  today’s date:

        You are prohibited from having any contact, or on off campus, with
        Complainant] or her family. This includes, but is not limited to,
        contact occurring via any of the following methods: in person (e.g., at
        activities, events, or classes); third party (e.g., friends, acquaintances,
        or family members); telephone, including text messaging; e-mail;
        instant messenger (such as Gmail chat); Facebook, Twitter or any
        other social networking site; skype; mail, including delivery services;
        gifts or other materials. Failure to honor this no contact restriction by
        doing everything reasonably possible to avoid contact with
        [Complainant] could result in additional complaints with the
        University of Michigan.

        Permanent Voluntary Separation Effective Immediately:

        If the terms of this agreement are accepted, you will be separated from
        the University of Michigan effective immediately. As part of this
        separation, you will be permanently prohibited from registering or
        enrolling in any University of Michigan course or program. For the
        duration of the Complainant’s affiliation with the University of
        Michigan you will be prohibited from attending University of
        Michigan sponsored events, from accessing University of Michigan
        property or facilities, unless reasonably needed for a health or safety
        emergency. Thereafter, should you require re-evaluation of this
        prohibition for any reason you may provide a written request to the
        Office of Student Conflict Resolution (OSCR) for review. If you are
        found in violation of the terms of this permanent separation, further
        action may be taken through the University of Michigan Police
        Department (UMPD).

        Additionally, your University network access and email will be
        disabled as well as any other privileges you were granted as a
        University of Michigan Student. You will not be permitted to return as
        a volunteer, consultant, mentor, or fellow at the University of
        Michigan in any capacity. A disciplinary record can be maintained by
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        the Office of Student Conflict Resolution indefinitely in cases
        resulting in permanent separation from the University.

        Notification to Future Schools or Employers (Advised):

        Many graduate schools and employers require that applicants disclose
        information regarding their prior disciplinary history to the school,
        employer, or entity upon application or as soon as the information
        becomes known to the applicant. You may have an obligation to
        disclose this matter in order to remain in compliance with applicable
        law or policy, and is advised to make this disclosure in the future as
        appropriate and in a manner that authentically represents the behavior
        for which he has been found responsible. If the University of
        Michigan is contacted with questions about a student’s disciplinary
        history, the University may need to provide appropriate information in
        response, as permitted by the Family Educational Rights and Privacy
        Act (FERPA).”      Ex. A., June 22, 2016 letter signed by Defendant
        Bazzy. (Dkt. # 107-2).

        2.    The Sixth Circuit Found That the Decision Against Plaintiff
              Rested on a “Credibility Determination.”

        The Sixth Circuit has ruled, based on the record before it, that “[t]he

  university’s decision rested on a credibility determination: the Board found Doe

  responsible after concluding that Roe and her witnesses were ‘more credible’ than

  Doe and his. R. 6-5, Pg. ID 274-75.” Baum, 903 F.3d at 581-582.

     III.    CONCLUSION

        The legal standard for this case has been clearly established; the pertinent

  facts are uncontested and/or admitted. Plaintiff is entitled to Partial Summary

  Judgment as to Count I.




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        WHEREFORE, Plaintiff requests that this Honorable Court enter an Order

   Granting Plaintiff’s Partial Motion for Summary Judgment.

  Dated: April 1, 2019                  Respectfully submitted,

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                                        (248) 258-2500
                                        dgordon@deborahgordonlaw.com


                           CERTIFICATE OF SERVICE

         I hereby certify that on April 1, 2019, I electronically filed the foregoing
  document and Exhibit with the Clerk of the Court using the ECF system, which
  will send notification of such filing and service of said documents to all parties
  through their counsel of record.

                                        DEBORAH GORDON LAW
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